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(Rev.8/82)

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION
CHURCHILL DOWNS

INCORPORATED, :
Plaintiff, : CIVIL ACTION NO.

1:12-CV-0517-WBH
V.

COMMEMORATIVE DERBY
PROMOTIONS, INC., et al.,
Defendants.

ORDER

In this trademark and licensing dispute this Court has already determined that
Defendants did infringe on Plaintiffs trademark rights in violation of the Lanham Act
and has entered an order of permanent injunction which enjoins Defendants from
engaging in like behavior in the future. Accordingly, the two issues that remain to be
resolved are the damages that Plaintiff is entitled to recover and whether Defendants
are liable to pay Plaintiff's attorneys’ fees.

To again provide background, Plaintiff is the proprietor of the Churchill Downs
racetrack and the Kentucky Derby and Kentucky Oaks races and holds various
trademarks associated with the track and those races. Defendants market and sell

horse-racing commemorative merchandise such as clothing and souvenirs. Fora time,

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Defendants had a licensing agreement with Plaintiff to produce and sell products
bearing Plaintiff's marks. After the licensing agreement expired in 2010, Defendants
continued to sell products that bore Plaintiffs protected marks, and Plaintiff brought
this action.

By order of September 23, 2013, [Doc. 85], Judge Julie E. Carnes found
Defendants liable to Plaintiff for infringing on Plaintiff's trademark rights under the
Lanham Act and under state law, for engaging in unfair competition, and for violating
the post-termination terms of the licensing agreement. Judge Carnes later granted
Defendants’ motion for reconsideration and concluded, inter alia, that Plaintiff had
abandoned its trademark in “Louisville Jockey Club” such that the use of that mark
in isolation would not violate Plaintiff's trademark rights. [Doc. 98]. Judge Carnes
did not, however, disturb her ruling with respect to Plaintiff's other marks that

Defendants had infringed.

Damages

In her order finding Defendants liable to Plaintiff, Judge Carnes directed the
parties to submit briefs regarding the measure of damages to which Plaintiff is
entitled. There are no disputes regarding the quantity of infringing material that

Plaintiff sold, the amount of revenue that Plaintiff received from those sales, and

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Plaintiffs profits from those sales. The parties disagree on the method that should be
employed to reach a damages calculation. Plaintiff asserts that it should recover the
profits from the sale of the infringing products in addition to “damages” equal to the
10% royalty payments that Defendants would have paid Plaintiff under their now-
expired license agreement. Defendants argue that damages should be limited to the
10% royalty payment.

This Court disagrees with both parties. The Lanham Act provides that a
plaintiff who prevails in a trademark infringement action “shall be entitled, .. . subject
to the principles of equity, to recover (1) defendant’s profits, (2) any damages
sustained by the plaintiff, and (3) the costs of the action.” 15 U.S.C. § 1117(a).
However, this Court has wide discretion to craft a damages award that it deems
appropriate to the facts of this case. This Court disagrees with Plaintiff's contention
that it suffered damages because Defendants’ actions caused confusion among
consumers. Rather, the damage that Plaintiff suffered in this case is limited to the fact
that some customers who purchased the infringing goods might have purchased
properly licensed goods or goods sold by Plaintiff. This Court thus concludes that
awarding both profits and royalties would give Plaintiff a windfall to which it is not

entitled.

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This Court further concludes that the proper measure of damages in this case
should be the profits Defendants received from selling the infringing goods. Limiting
damages to the royalty payments that Defendants would have paid under the former
licensing agreement would permit Defendants to profit from wrongful behavior.

Accordingly, this Court will set damages at $50,458.03.

Attorneys’ Fees

Under the Lanham Act, this Court can award reasonable attorney’s fees to the
prevailing party only in exceptional circumstances. Planetary Motion, Inc. v.

Techsplosion, Inc., 261 F.3d 1188, 1205 (11th Cir. 2001). “In this context, an

exceptional case is one where the infringing party acts in a malicious, fraudulent,

deliberate, or willful manner.” Pelc v. Nowak, 596 F. App’x 768, 770 (11th Cir.

2015) (quotation and citation omitted). In this case, the worst that could be said of
Defendants is that their actions demonstrated a cavalier attitude towards Plaintiff's
trademark rights. It is clear that they tried, however ineffectively, to avoid violating
the Lanham Act by not using blatant references to the Kentucky Derby and Plaintiff's
other marks. F ‘adie a trademark violation required viewing the offending goods in

context. As such, this Court cannot find that Defendants acted maliciously.

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Conclusion
For the reasons stated, Defendants are ORDERED to pay Plaintiff damages in
the amount of $50,458.03. Plaintiff's motion for attorneys’ fees, [Doc. 106], is
DENIED.
It appearing that all outstanding matters in this case have been resolved, the

Clerk is DIRECTED to close this action.

IT IS SO ORDERED, this ~ day of Wyk, 2016.
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WILLIS B. HUNT, JR.
UNITED STATES DISTRICT JUDGE

